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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
VS.                                              §             CASE NO. 1:14-CR-91
                                                 §
                                                 §
KENNETH RAY SMITH                                §


         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter is referred to the undersigned United States

Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

       On November 13, 2014, this case came before the undersigned United States Magistrate

Judge for entry of a guilty plea by the Defendant, Kenneth Ray Smith, to Counts One and Seventeen

of the Indictment. Count one alleged that from in or about January 2012 through February 2014, in

the Eastern District of Texas, Kenneth Ray Smith and his co-defendants did knowingly, willfully,

and unlawfully conspire, combine, confederate, and agree with each other and others known and

unknown to the Grand Jury, to make, utter, and possess counterfeited securities of various

organizations, that is, approximately 143 counterfeit checks, causing a loss to various merchants in

Jefferson County and Orange County, Texas, in the approximate amount of $110,687.96, in violation

of 18 U.S.C. § 513, all in violation of 18 U.S.C. § 371.



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       Count 17 alleges that on or about February 19, 2014, in the Eastern District of Texas,

Kenneth Ray Smith, defendant, having been convicted of a crime punishable by imprisonment for

a term exceeding one year, to wit: Theft, a felony, on October 26, 1993, in Cause Number 78,639-B,

in the 12th Judicial District Court, Avoyelles Parish, Louisiana, and Illegal Use of Weapons, felony,

on March 2, 1993, in Cause Number 76,646-A, in the 12th Judicial District Court, Avoyelles Parish,

Louisiana, did knowingly possess in and affecting interstate commerce, a firearm, to wit: a

Springfield Armory, model 1911-A1, .45 caliber pistol, bearing serial number WW69264, all in

violation of 18 U.S.C. § 922(g)(1).

       The Defendant entered pleas of guilty to Counts One and Seventeen of the Indictment into

the record at the hearing. After conducting the proceeding in the form and manner prescribed by

Federal Rule of Criminal Procedure 11, the undersigned finds:

       a.      That the Defendant, after consultation with his attorney, has knowingly, freely and

voluntarily consented to the administration of the guilty plea in this case by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.      That the Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal. The

Defendant verified that he understood the terms of the plea agreement, agreed to the Government’s

summary of the plea agreement, and acknowledged that it was his signature on the plea agreement.

To the extent the plea agreement contains recommendations and requests pursuant to FED. R. CRIM.

P. 11 (c)(1)(B), the court advised the Defendant that he has no right to withdraw the plea if the Court

does not follow the particular recommendations or requests. To the extent that any or all of the terms



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of the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant

that he will have the opportunity to withdraw his plea of guilty should the Court not follow those

particular terms of the plea agreement.1

         c.        That the Defendant is fully competent and capable of entering an informed plea, that

the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

did not result from force, threats or promises (other than the promises set forth in the plea

agreement). See FED. R. CRIM. P. 11(b)(2).

         d.        That the Defendant’s knowing and voluntary plea is supported by an independent

factual basis establishing each of the essential elements of the offense and the Defendant realizes that

his conduct falls within the definition of the crimes charged under 18 U.S.C. § 371 and 18 U.S.C.

§ 922(g)(1).

                                          STATEMENT OF REASONS

         As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government would prove that Kenneth Ray Smith


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           “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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is one and the same person charged in the Indictment and that the events described in the Indictment

occurred in the Eastern District of Texas and elsewhere. The Government would also have proven,

beyond a reasonable doubt, each and every essential element of the offense as alleged in Counts One

and Seventeen of the Indictment through the testimony of witnesses, including expert witnesses, and

admissible exhibits. In support of the Defendant’s plea, the undersigned incorporates the proffer of

evidence described in detail in the factual basis and stipulation, filed in support of the plea

agreement.

       The Defendant, Kenneth Ray Smith, agreed with and stipulated to the evidence presented in

the factual basis. Counsel for the Defendant and the Government attested to the Defendant’s

competency and capability to enter an informed plea of guilty. The Defendant agreed with the

evidence presented by the Government and personally testified that he was entering his guilty plea

knowingly, freely and voluntarily.

                              RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Counts One and Seventeen of the Indictment. It is also

recommended that the District Court conditionally accept the plea agreement pending review of the

presentence report. Accordingly, it is further recommended that Kenneth Ray Smith be finally

adjudged guilty of the charged offenses under Title 18, United States Code, Sections 371 and

922(g)(1).

       If the plea agreement is rejected and the Defendant still persists in the guilty plea, the

disposition of the case may be less favorable to the Defendant than that contemplated by the plea


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agreement. The Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. The Defendant has the right to allocute before the District Court

before imposition of sentence.

                                          OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 1(a),

6(b), and 72(b). A party’s failure to object bars that party from: (1) entitlement to de novo review

by a district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d

275, 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of

unobjected-to factual findings and legal conclusions accepted by the district court, see Douglass v.

United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional

safeguards afforded by Congress and the courts require that, when a party takes advantage of his

right to object to a magistrate’s findings or recommendation, a district judge must exercise its

nondelegable authority by considering the actual evidence and not merely by reviewing and blindly

adopting the magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620

(5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


        SIGNED this 17th day of November, 2014.




                                                       _________________________
                                                       Zack Hawthorn
                                                       United States Magistrate Judge




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